70 F.3d 1263
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Kenneth SIMMONS, Petitioner-Appellant,v.STATE of South Carolina;  T. Travis Medlock, AttorneyGeneral of the State of South Carolina,Respondents-Appellees.
    No. 95-6403.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 16, 1995.Decided Nov. 27, 1995.
    
      Appeal from the United States District Court for the District of South Carolina, at Greenville.  Matthew J. Perry, District Judge.  (CA-94-856-6-0-AK)
      William Kenneth Simmons, Appellant Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      D.S.C.
      DISMISSED.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Simmons v. State of South Carolina, No. CA-94-856-6-0-AK (D.S.C. Jan. 23, 1995).  Additionally, we deny Appellant's request for appointed counsel.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    